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                                                                             Filed: January 17, 2025

                UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                            ORAL ARGUMENT NOTIFICATION

        ORAL ARGUMENT             Please take notice that this case has been scheduled for oral
        NOTIFICATION              argument as set forth below.

        CASE                      No. 24-1334,         Consumer Financial Protection Bureau
                                                       v. Nexus Services, Inc.
                                                       5:21-cv-00016-EKD-JCH

        PLACE                     Lewis F. Powell, Jr., United States Courthouse
                                  1000 East Main Street
                                  Richmond, Virginia 23219

        ENTRANCE &                Enter at 1000 East Main St. and check-in at Room 101 (Library)
        CHECK-IN                  The entrance opens at 7:30 AM during court week.

        DATE                      03/20/2025

        SESSION STARTING          9:30 a.m.
        TIME

        CHECK-IN TIME             8:45 - 9:00 a.m.

        ORAL ARGUMENT             Arguing counsel must file the ORAL ARGUMENT
        ACKNOWLEDGMENT            ACKNOWLEDGMENT FORM within 7 calendar days of
        FORM TO BE FILED          service of this notification. (Click link to access form. ECF
        WITHIN 7 DAYS             Event: Oral Argument Acknowledgement.)

        COURTHOUSE                   •    Picture ID is required.
        INFORMATION                  •    No food, water, other beverages, or potential weapons
                                          allowed.
                                     •    Electronic devices permitted for counsel and their staff.
                                          Devices must be turned off in the courtroom, unless being
                                          used by counsel (in silent mode) during presentation of
                                          argument.
                                     •    For hearing assistance or other access accommodations,
                                          call 804-916-2714 in advance of argument date.
                                     •    Directions, hotel, and parking information are available at
                                          www.ca4.uscourts.gov/oral-argument/visiting-the-
                                          court .

        CJA CASES                 CJA attorneys traveling by plane or train must submit a Travel
                                  Authorization through CJA eVoucher with an estimated ticket
                                  cost (use YCA rate in City-Pair Government Coach Airfares).
                                  Once the court has approved the Travel Voucher through CJA
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                                  eVoucher, counsel should call the National Travel Service at 800-
                                  445-0668 to obtain government-rate plane or train reservations.

        ARGUMENT TIME             Each side is normally allowed 20 minutes; if more than one
                                  attorney is arguing per side, they must agree on how the time is to
                                  be divided. In en banc cases, each side receives 30 minutes.
                                  Appellants & cross-appellants may reserve up to 1/3 of the time
                                  for rebuttal.

        IDENTITY OF PANEL &       The identity of the panel hearing a case is not disclosed until the
        ORDER OF CASES            morning of argument. The order of cases is subject to change
                                  until the morning of argument and is announced in the
                                  courtroom.

        MOTIONS TO SEAL           Any motion to seal the courtroom for oral argument must be filed
                                  at least 5 days prior to argument and state whether opposing
                                  counsel consents to the motion.
